Case 5:14-cv-02336-JGB-DTB Document 122 Filed 07/01/19 Page 1 of 15 Page ID #:1710




  1    LAW OFFICES OF MARGARET
       A. CHIDESTER & ASSOCIATES
  2    Steven R. Chidester, SBN 146639
       s.chidester@californiaschoollaw.net
  3    Margaret A. Chidester, SBN 95795
       m.chidester@californiaschoollaw.net
  4    17762 Cowan, First Floor
       Irvine, CA 92614-6096
  5    Telephone: (949) 474-5040
       Facsimile: (949) 474-8540
  6
       Attorneys for Defendants,
  7    Chino Valley Unified School District
       Board of Education, and Chino Valley
  8    Unified School District Board of
       Education Board Members James Na,
  9    Sylvia Orozco, Charles Dickie, Andrew
       Cruz, and Irene Hernandez-Blair in
 10    their official representative capacities
 11

 12                           UNITED STATES DISTRICT COURT
 13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 14                                    EASTERN DIVISION
 15
      FREEDOM FROM RELIGION                         Case No.: 5:14-CV-02336 JGB (DTB)
 16   FOUNDATION, INC., et al.,
 17                                                 DEFENDANTS’ NOTICE OF
      Plaintiffs,                                   MOTION AND MOTION TO
 18                                                 EXONERATE SUPERSEDEAS
 19   vs.                                           BOND; MEMORANDUM OF POINTS
                                                    AND AUTHORITIES
 20   CHINO VALLEY UNIFIED
 21   SCHOOL DISTRICT BOARD OF                      Hearing Date: August 5, 2019
      EDUCATION, etc. et al.,                       Hearing Time: 9:00 a.m.
 22                                                 Judge: Hon. Jesus G. Bernal
 23   Defendants.                                   Courtroom: 1 Riverside
 24

 25          TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

 26          PLEASE TAKE NOTICE that on August 5, 2019 at 9:00 a.m., or on such other

 27   date and at such other time as the matter may be heard before the Honorable Jesus G.

 28   Bernal, United States District Court Judge, in Courtroom 1 of United States District
                                                    1
      DEFENDANTS’ NOTICE OF MOTION TO         -1-                         5:14-CV-02336-JGB (DTB)
      EXONERATE SUPERSEDEAS BOND AND MOTION
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  1   Court, located as 3470 Twelfth Street, Riverside, California, Defendants will and hereby
  2   do move this Court for the entry of an order exonerating the supersedeas bond that
  3   Defendants posted in connection with their March 16, 2016 appeal of this Court’s
  4   February 18, 2016 order for the reason that this case has been concluded and the necessity
  5   for the bond has passed.
  6          Pursuant to United States District Court for the Central District of California Local
  7   Rules, rule 7-3, on June 18, 2019, Defendants’ counsel contacted Plaintiffs’ counsel, Mr.
  8   David Kaloyanides, regarding the motion. On June 29, 2019, Plaintiffs’ counsel stated
  9   he did not oppose the motion.
 10          This motion is based on the accompanying Memorandum of Points and
 11   Authorities, along with the Declaration of Steven R. Chidester, the attached exhibits, and
 12   the [Proposed] Order.
 13

 14                                            Respectfully submitted,
 15    Dated: July 1, 2019                      /s/ Steven R. Chidester
                                               Steven R. Chidester
 16
                                               LAW OFFICES OF MARGARET A.
 17                                            CHIDESTER & ASSOCIATES
                                               Attorneys for Defendants
 18
                                               Chino Valley Unified School District Board of
 19                                            Education, and Chino Valley Unified School
                                               District Board of Education Board Members
 20
                                               James Na, Sylvia Orozco, Charles Dickie,
 21                                            Andrew Cruz, and Irene Hernandez-Blair in their
                                               official representative capacities
 22

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                                                    2
      DEFENDANTS’ NOTICE OF MOTION TO         -2-                            5:14-CV-02336-JGB (DTB)
      EXONERATE SUPERSEDEAS BOND AND MOTION
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  1                  MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.     INTRODUCTION
  3          In light of the United States Court of Appeals for the Ninth Circuit (“Ninth Circuit
  4   Court of Appeals”) having affirmed this Court’s February 18, 2016 order granting in part
  5   Plaintiffs’ motion for summary judgement and entry of judgement in favor of Plaintiffs
  6   for injunctive and declaratory relief on July 25, 2018, the Ninth Circuit Court of Appeals’
  7   denial of Defendants’ petition for rehearing en banc on December 26, 2018, the Ninth
  8   Circuit Court of Appeals’ mandate issued on January 3, 2019, and Defendants’ payment
  9   of the judgement award and the Ninth Circuit Court of Appeals’ award of Plaintiffs’
 10   attorneys’ fees to Plaintiffs, the supersedeas bond posted in connection with Defendants’
 11   appeal of this Court’s February 18, 2016 order is now subject to exoneration and release.
 12   II.    FACTUAL BACKGROUND
 13          On November 13, 2014, Plaintiffs filed the underlying action against Defendants,
 14   seeking declaratory and injunctive relief, as well as nominal damages. On February 18,
 15   2016, this Court granted partial summary judgment for Plaintiffs, (Doc. No. 87), and
 16   entered judgment in favor of Plaintiffs for injunctive and declaratory relief, (Doc. No.
 17   89). On March 31, 2016, this Court granted Plaintiffs’ motion for attorneys’ fees and
 18   costs in part and awarded Plaintiffs attorneys’ fees and costs in the amount of
 19   $202,971.70. (Doc. No. 101.)
 20          On March 16, 2016, Defendants appealed this Court’s summary judgment order
 21   and judgement. (Doc. No. 94.) On or about April 26, 2016, International Fidelity
 22   Insurance Company provided the supersedeas bond (Bond No. 0663961) in the amount
 23   of $225,000.00 through Commercial Surety Bond Agency at the request of Defendants.
 24   (“Bond,” Doc. No. 102, p. 6.; attached hereto as Exhibit 1.)
 25          On May 4, 2016, Defendants filed a motion to stay enforcement of this Court’s
 26   order granting Plaintiffs’ motion for attorneys’ fees pending resolution of Defendants’
 27   appeal and approval of the proposed supersedeas bond pursuant to Federal Rules of Civil
 28   Procedure 62. (Doc. No. 102.)
                                                    3
      DEFENDANTS’ NOTICE OF MOTION TO         -3-                           5:14-CV-02336-JGB (DTB)
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  1          On June 13, 2016, this Court granted Defendants’ motion to stay enforcement of
  2   the order granting attorneys’ fees on the condition that the Defendants post a supersedeas
  3   bond of at least $253,714.63 within thirty days of its order. (Doc. No. 105.)
  4          Defendants therefore increased the supersedeas bond amount to $255,000.00.
  5   (CSBA Invoice, attached hereto as Exhibit 2.)
  6          On July 25, 2018, the Ninth Circuit Court of Appeals affirmed this Court’s
  7   February 18, 2016 order granting in part Plaintiffs’ motion for summary judgement and
  8   entry of judgement in favor of Plaintiffs for injunctive and declaratory relief. (Doc. No.
  9   110.) (See Freedom From Religion Found., Inc. v. Chino Valley Unified Sch. Dist. Bd.
 10   of Educ., 896 F.3d 1132, 1138 (9th Cir. 2018).)
 11          On December 26, 2018, the Ninth Circuit Court of Appeals denied Defendants’
 12   petition for rehearing en banc over the dissent of five judges, and the dissent in part of
 13   one judge. (Doc. No. 111.) (See Freedom From Religion Found., Inc. v. Chino Valley
 14   Unified Sch. Dist. Bd. of Educ., 910 F.3d 1297, 1298, 1304 (9th Cir. 2018).)
 15          On January 3, 2019, the Ninth Circuit Court of Appeals issued the mandate
 16   pursuant to Federal Rules of Appellate Procedure Rule 41(a). (Doc. No. 113.)
 17          On February 14, 2019, the Ninth Circuit Court of Appeals granted Plaintiffs’
 18   motion for attorneys’ fees and costs and authorized the Appellate Commissioner to enter
 19   an order awarding attorneys’ fees and costs related to the appeal. (Doc. No. 114.)
 20          On April 9, 2019, Plaintiffs filed an affidavit and request for issuance of writ of
 21   execution with this Court. (Doc. No. 117.) The full judgement as entered is $206,922.77,
 22   consisting of $202,425.00 in attorneys’ fees, $3,951.07 in interest, and $546.70 in costs.
 23   On April 10, 2019, this Court issued a notice of deficiency with Plaintiffs’ writ of
 24   execution. (Doc. No. 118.) To date, Plaintiffs have not filed an amended affidavit and
 25   request for issuance of writ of execution.
 26          On April 19, 2019, the Ninth Circuit Court of Appeals awarded attorneys’ fees to
 27   Plaintiffs based on 129.4 hours of work on appeal in the amount of $75,680.00. (Doc.
 28   No. 119.)
                                                    4
      DEFENDANTS’ NOTICE OF MOTION TO         -4-                          5:14-CV-02336-JGB (DTB)
      EXONERATE SUPERSEDEAS BOND AND MOTION
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  1          On April 19, 2019, Plaintiffs’ counsel, Mr. Kaloyanides, received Defendants’
  2   check made payable to “Trust Account of David J.P. Kaloyanides” in the amount of
  3   $206,922.77 as payment in full for the judgement award. (April 19, 2019 Receipt of
  4   Defendants’ Check, attached hereto as Exhibit 3.) On May 1, 2019, Mr. Kaloyanides
  5   received Defendants’ check made payable to “Trust Account of David J.P. Kaloyanides”
  6   in the amount of $75,680.00 as payment in full for Ninth Circuit Court of Appeals award
  7   of attorneys’ fees. (May 1, 2019 Receipt of Defendants’ Check, attached hereto as
  8   Exhibit 4.)
  9      III.      THE BOND BEING HELD SHOULD BE ORDERED DISCHARGED
 10                AND RELEASED.
 11          Rule 62(d) of the Federal Rules of Civil Procedure provides that Defendants may
 12   obtain a stay of execution of judgment pending appeal by posting a supersedeas bond.
 13   United States District Court for the Central District of California Local Rules rule 65-2
 14   permits a court clerk to approve all bonds given in the form and amount prescribed by
 15   statute, order of the court or stipulation of counsel, which comply with the requirements
 16   of United District Court for the Central District of California Local Rules, rules 65-3 and
 17   65-5. When there is a valid final judgment, the court may exonerate a supersedeas bond.
 18   (See Gorsuch v. Fireman’s Fund Ins. Co. 360 F.2d 23, 27 (9th Cir. 1966).)
 19          Here, there is a valid final judgement entered in favor of Plaintiffs. On July 25,
 20   2018, the Ninth Circuit Court of Appeals affirmed this Court’s February 18, 2016 order
 21   granting in part Plaintiffs’ motion for summary judgement and entry of judgement in
 22   favor of Plaintiffs for injunctive and declaratory relief. The Ninth Circuit Court of
 23   Appeals issued a mandate on January 3, 2019, terminating appellate jurisdiction. (Fed.
 24   R. App. P. 41.) Defendants did not file a motion to stay the mandate pending the filing
 25   of a petition for a writ of certiorari in the United States Supreme Court. (See Fed. R. App.
 26   P. 41(a).)
 27          As a result of Ninth Circuit Court of Appeals’ affirmation of this Court’s
 28   judgement and the Ninth Circuit Court of Appeals’ award of attorneys’ fees to Plaintiffs,
                                                    5
      DEFENDANTS’ NOTICE OF MOTION TO         -5-                           5:14-CV-02336-JGB (DTB)
      EXONERATE SUPERSEDEAS BOND AND MOTION
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  1   Plaintiffs requested payment for the judgement award of $206,922.77 and the Ninth
  2   Circuit Court of Appeals award of attorneys’ fees of $75,680.00.
  3          In light of this case concluding and Plaintiffs receiving Defendants’ check for the
  4   judgement award of $206,922.77 on April 19, 2019 and Defendants’ check for the Ninth
  5   Circuit Court of Appeals’ attorneys’ fees award of $75,680.00 on May 1, 2019, there is
  6   no longer any reason for the supersedeas bond to be held by the Clerk of this Court for
  7   the Defendants’ potential benefit. The supersedeas bond therefore should be exonerated
  8   and discharged by this Court, and the International Fidelity Insurance Company that
  9   provided the bond at the request of Defendants should be released from any and all
 10   liabilities pursuant to the supersedeas bond.
 11      IV.    CONCLUSION
 12          For the above reasons, Defendants respectfully request that this Court enter an
 13   order, submitted herewith, ordering that the supersedeas bond is no longer required and
 14   is hereby fully and unconditionally discharged and exonerated, and that International
 15   Fidelity Insurance Company is released from any and all past, present, and future
 16   liabilities arising under or in connection with the issuance of the bond, and directing the
 17   Clerk of the Court to return the canceled supersedeas bond to Defendants’ counsel.
 18

 19                                            Respectfully submitted,
 20    Dated: July 1, 2019                      /s/ Steven R. Chidester
 21                                            Steven R. Chidester
                                               Attorneys for Defendants
 22
                                               LAW OFFICES OF MARGARET A.
 23                                            CHIDESTER & ASSOCIATES
                                               Chino Valley Unified School District Board of
 24
                                               Education, and Chino Valley Unified School
 25                                            District Board of Education Board Members
                                               James Na, Sylvia Orozco, Charles Dickie,
 26
                                               Andrew Cruz, and Irene Hernandez-Blair in their
 27                                            official representative capacities
 28
                                                    6
      DEFENDANTS’ NOTICE OF MOTION TO         -6-                           5:14-CV-02336-JGB (DTB)
      EXONERATE SUPERSEDEAS BOND AND MOTION
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                           EXHIBIT 1
                                        7
Case
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                                                                    Page ID
                                                                         ID #:1717
                                                                            #:1518

                                     International Fidelity Insurance Company
                              Address for Service: 2999 OakRoad, #820, Walnut Creeþ C^94597

                                                                                           BondNo.0663961
                                                                                             Premium: 54.27 5.00 annually

                                    IN THE TINITED STATES DISTRICT COURT
                                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

     FREEDOM FROM RELIGION                                    )
     FOUNDATION, INC., ET AL.                                 )
                Plaintiffs,                                   )      Case No.   EDCV I4-2336-JGB (DTBx)
     Vs.                                                      )
     CHINO VALLEYUNIFIED                                      )
     SCHOOL DISTRICT BOARD OF                                 )
     EDUCATION, ET AL,                                        )
                Defendants.                                  )

     WHEREAS, the above defendant desires to give an r¡ndertaking for Appeal provided by Federal Rule                       of
     Civil Procedure 62(ö.

     NOW, TI{EREFORE, lntemational Fidelitv lnsurance Company, a corporation duly incorporated under
     the laws of New Jersey and authorized to do business in the State of California, as surety, does hereby
     obligate itselfto the above plaintiffs under said statutory obligations, in the sum of Two Hundred Twenty
     Five Thousand and 00/100 Dollars ( $225.000.00).

     I-r no event shall the Surety's liability under this bond exceed the penal sum of Two Hundred Twenty
     Five Thousand and 00/100 Dollars l$225.000.00).

     Signed and Sealed this 26th day of       Atril,2016.




                                                                                    Ayala,

     A notary        or other        completing this oertifrcate verifies only the identity of the individual who signed
     the document, to which this certificate is attached, and not the t¡uthfulness, accuracy, or validity of that document.



     STATE OF CALIFORNIA
     Counly of Orange

     On April 26ft. 2016 before me, Kare,n L. Ritto, Notary Public, personally appeared Arturo Ayala who
     proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to
     the within instrumEnt and acknowledged to me that he/she/they executed the same in his/her/thei¡
     authonzed capacity(ies), and that by his/her/their signature(s) on the instrumerit the person(s), or the
     entity upon behalf of which the person(s) acted, executed the instrument.

     I certifu under PENALTY OF PURJURY under the laws of the state of California that the foregoing
     paragraph is true and cor¡ect.
                                                                                                                hAREN L. R}TTO
     WITNESS                       official seal.                                                              coMM.tt2L3a527
                                                                                                                                       o
                                                                                                            Notary Public-cälilornia   îr.
                                                                                                              ORANGE COUNTY            lt
     S                                                                                                    MyComm. Elp¡res Dec 30, 2019

                                                              6
Case
Case 5:14-cv-02336-JGB-DTB
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                                                              of 15
                                                                 14 Page
                                                                    Page ID
                                                                         ID #:1718
                                                                            #:1519

  Tér (973) 624-7200
                                                     POWER OF ATTORNEY
                                       INTERNATIONAL FIDELITY INSURANCE COMPANY
                                             ALLEGHENY CASUALTY COMPANY
                                                                                                                        Bond No. 0663e61
                                ONE NEWARK CENTER, 2OTH FLOOR NEWARK, NEW JERSEY 07102.52A7
KNOW ALL MEN BY THESE PRESENTS: That INTERNATIONAL FIDELITY INSURANCE CoMPANY a corporatlon organlzed and existing under
the laws of the State of New and ALLEGHENY CASUALry COMPANY a corporalion     and existing und6r the laws of the State of
                     their     in the  of Newark, New   ,do      constitute

ANDREW WATERBURY, DWIGHT REILLY, ARTURO AYALA, DANIEL HUCKABAY




Orange, CA.
                                       to                                    on its

                                                            i¡s                       to
                 by their
            of                         and        be                          and                   the By.Laws of INTERNATIONAL FIDELITY :NSURANCE
                                                                                                    the foflowino resolulion adooted bv lhe Board of Direclors
                                                                  a                                  of July, 2010 and by lhe Bo'ard of'Oirectors of ALTEGHENY
                            a                   on
                                      Vice               Chief                                                    shall have

                                                                                                                                                         agents
                                                                                                                                                         01 anv
                                                                                                                                                         ol any
                                                                                                                                                          when
                                                                                                                                                          of lhe
            to be                   upon                                   force

lN WITNESS WHEREOF, INTERNATIONAL FIDELITY INSURANCE COMPANY and ALLEGHENY CASUALTY COMPANY haveeach executed                                               ãnd
atlested these presents on this 22nd day ofJuly, 2014.


                                      STATE OF NEW JERSEY
                                      County of Essex
                    gEÄt
                    lsg+
                                                                                   M{.FFa-;É;                                              t93t
                                                                                           ROBERIW. M¡NSTER
                                                                           Chief Executive Officer (lnternatìonal Fidelitv
                                                                           lnsurence_ Company) and Presideni (Allegheny
                                                                           Casual9 Compåny) '

On th¡s 22nd day ot July 2014, before me came lhe individual who executed lhe preceding inst¡ument, to me p€rsonally known, and, being by me duly
swom, said he is the therein described and authorized ofücer of INTERNATIONAL FIDELITY INSURANCE COMPANY and ALLEGHENY ôASUALTY
COMPANY; that the seals affixed to said instrument are the Corporate Seats of said Companies: that the said Corporate Seals and his signature were
duly affixed by order of the Boards of Dlrectors of said Companies.
                                                                            lN TESTIMONY WHÊREOF. I have hereunto sel mv hand sffixed mv Ofiìcial Seal.
                                                                            at he City of Newark, New Jérsey the day and year frst above writteñ.




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                 o¡rueçl
                                                                                                         a4%
                                                                                                       A NOTARY PUBLIC OF NEW JERSEY
                                                                                                       My Commission Expìres April 16,2019

                    It                                                CERTIFICA-rtON
l. lhe undersigned officer of INTERNATIONAL FIDELITY INSURANCE COMPANY and ALLEGHENY CASUALTY COMPANY do hereby cerüry ûìât I have
compared tho foregoing copy of the Power of Attorney and afüdavit, and lhe copy of lhe Sections of the By-Laws of said Companies as set forlh in said
Powerof Attomey, wllhlheoriginals onflle in lhehomeoffice of saldcompanles, and that thesamearecorrect lranscripblhereof,andotthewhole
of lhe said originals, and lhat the said Porver of Attorney has not been revoked and is now ln full force and etfect.

lN TESTIMONY WHEREOF, I have hereunto set my hand                       this Z6th                    day   of April ,      ZOL6


                                                                                                        1@fuá'^æ
                                                                                                           MARIA BRANCO, Assistant Secætary


                                                                             7
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                        EXHIBIT 2
                                     10
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                                    #:1720




                                                 1411 N. Batavia St., Suite 201
                                                      Orange, CA 92867
                                             (714) 516-1232 FAX (714) 516-9563
                                                      License #0680930

Attn: Accounts Payable
Chino Valley Unified School District Board of Education
5130 Riverside Drive
Chino, CA 91710

                                                                                         Invoice No. 38462

 BILLING DATE      BOND NO.             BOND COMPANY                       EFFECTIVE DATE   EXPIRATION DATE

 02-25-2019        0663961              International Fidelity Insurance   04-26-2019       04-25-2020
                                        Company

 Bond Type: Supersedeas Bond
 Transaction Type: Renewal

 Contract Amt: $0.00            Bond Amt: $255,000.00                      $4,845.00 Total Premium Due
 Obligee: U.S. District Court - Central District of California

 Contract No:
 Job Desc: Case No. EDCV 14-2336-JGB (DTBx)




    *Please note that this bond automatically renews upon the renewal date shown above. A renewal
    premium will be billed unless the necessary information needed to cancel this bond is received 30 days
    prior to the renewal date.
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                        EXHIBIT 3
                                     12
     Case 5:14-cv-02336-JGB-DTB Document 122 Filed 07/01/19 Page 13 of 15 Page ID
                                      #:1722




                                                                  11NIFIED SCI IDOL DISTRICT

                                          5130 R1-.'11do Drive • Chino, CA 91710 • 909 628 1201 •   www   chino k 12 co us

        BOARD Of EDUCATION : Andrew Crut • Chrosiono Gagnier • Irene Hernondet-Bloor • Jomes No • Joe Schaffer • SUPERINTENDENT: Norm Enf.e ld. Ed D




'          This acknowledges receipt o f the Ch ino Valley Unified School D istrict's check made payable to
\
    "Trust Account of David J.P. Kaloyanides" in the amount of$206,922.77 as payment in fu ll for judgement
    entered in freedom From Religion Foundation, In c., et al., v. Chino Valley Unified School District Board
    ofEducation, etc. et al. case number EDCV-1 4-02336 JGB (DTBx).




                                                                                                                              Date




    Witn°t'zi]2 f1n~frL
                   ~[}__              Please Sign
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                        EXHIBIT 4
                                     14
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                                   #:1724



                                                              CHINO VALLEY
                                                              UNIFIED SCHOOL DISTRICT

                                      5130 Riverside Drive • Chino, CA 91710 • 909628.1201 • wwwchino.kl2.co.us

    BOARD OF EDUCATION: Andrew Cruz • Christina Gagnier • Irene Hornandez-Blair • James Na • Joe Schaffer • SUPERINTENDENT: Norm Enfield, Ed.D.




       T hi s acknowledges receipt of the Chino Valley Unified School District's check made payable to
"Trust Account of David J .P. Kaloyanides" in the amount of $75,680.00 as payment in full for Ninth
Circuit Court of Appeals attorney fees awarded in Freedom From Religion Foundation, Inc., et al. , v.
Chino Valley Unified School District Board of Education, etc. et al. case number 5:14-CV-02336-JGB-
DTB.




                                                                                                                         Date


                                  Print Name



Witnes :


                                                                                                                   I    1Date
